65 F.3d 166
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Doylas R. DILLARD, Plaintiff--Appellant,v.FIELDCREST CANNON, INCORPORATED, Defendant--Appellee.
    No. 94-2405.
    United States Court of Appeals, Fourth Circuit.
    Sept. 8, 1995.
    
      Doylas R. Dillard, Appellant Pro Se.  Charles Daniel Barrett, Edwards, Ballard, Clark &amp; Barrett, Winston-Salem, North Carolina, for Appellee.
      Before WIDENER, HALL and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order granting summary judgment to Appellee in this age discrimination action.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Dillard v. Fieldcrest Cannon, Inc., No. CA-91-771-R (W.D.Va. Sept. 28, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    